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                                                                                       Central District of California
                     6                 annie.stoops@arentfox.com                       BY toliver    DEPUTY CLERK


                     7   General Bankruptcy Counsel for
                         Timothy Yoo, Chapter 7 Trustee
                     8

                     9                            UNITED STATES BANKRUPTCY COURT

                    10              CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

                    11   In re:                                          Case No. 2:19-bk-12607-BR
                    12   VOIP GUARDIAN PARTNERS I, LLC,                  Chapter 7
                    13                      Debtor.                      ORDER GRANTING THE INTERIM
                                                                         APPLICATION OF THE CHAPTER 7
                    14                                                   TRUSTEE FOR ALLOWANCE OF
                                                                         COMPENSATION AND
                    15                                                   REIMBURSEMENT OF EXPENSES FOR
                                                                         NAUTADUTILH N.V., SPECIAL
                    16                                                   NETHERLANDS COUNSEL TO THE
                                                                         CHAPTER 7 TRUSTEE, FOR THE
                    17                                                   PERIOD FROM MARCH 13, 2020 TO
                                                                         OCTOBER 31, 2021
                    18
                                                                         Hearing:
                    19
                                                                         Date: January 4, 2022
                    20                                                   Time: 2:00 p.m.
                                                                         Place: Courtroom 1645
                    21                                                          255 E. Temple Street
                                                                                Los Angeles, CA 90012
                    22

                    23            IN THIS DISTRICT, AT LOS ANGELES, CALIFORNIA, ON THE DATE
                    24   INDICATED BELOW:
                    25            The Court has reviewed and considered the Interim Application of the Chapter 7 Trustee
                    26   for Allowance of Compensation and Reimbursement of Expenses for NautaDutilh N.V., Special
                    27   Netherlands Counsel to the Chapter 7 Trustee, for the Period from March 13, 2020 to October
                    28
A RENT F OX LLP
ATTO RNEY S AT LAW
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                     1   31, 2021 [Dkt. No. 166] (the “Application”)1 for compensation and reimbursement of expenses

                     2   for services rendered by NautaDutilh N.V. (“NautaDutilh” or “Firm”) as Special Netherlands

                     3   Counsel for the Chapter 7 Trustee for the period from March 13, 2020 to October 31, 2021 the

                     4   (“Fee Period”). The Court has also reviewed and considered the notice of the Application [Dkt.

                     5   No. 168]; the declarations filed in support of the Application; and the entire record in this case.

                     6              Based upon such review and consideration, and with no person or entity having filed an

                     7   opposition to the Application, and finding that notice of the Application was adequate and

                     8   appropriate under the particular circumstances, and no other notice need be given; the Court

                     9   granted the Application and waived appearances at the above-captioned hearing as reflected in the

                    10   Court’s tentative ruling (the “Tentative Ruling”), and those findings and conclusions are

                    11   incorporated into this Order. Having determined and found that the record establishes good,

                    12   sufficient, and just cause for granting the Application,

                    13              IT IS HEREBY ORDERED THAT:

                    14              1.       The Application is granted in its entirety. The following fees and expenses are

                    15   allowed on an interim basis for the period from March 13, 2020 through and including October

                    16   31, 2021:

                    17
                                                                                                              Total Authorized to be
                                    Fees Allowed           Expenses Allowed            Total Allowed
                    18                                                                                                Paid

                    19               $149,132.07               $12,611.20                $161,743.27                $161,743.27

                    20              2.       The Trustee is authorized to disburse the sum of $161,743.27 as interim
                    21   compensation to the Firm.
                    22   ###
                    23

                    24   Date: January 10, 2022

                    25

                    26
                    27

                    28
A RENT F OX LLP
                         1
ATTO RNEY S AT LAW           Any capitalized term not defined herein has the meaning ascribed to it in the Application.
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